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                    UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA


  CHARLIE BELLS, JR.,               CASE NO. 5:16-CV-1598-DMG (SK)
                    Plaintiff,
                                    ORDER ACCEPTING REPORT
             v.                     AND RECOMMENDATION OF
                                    U.S. MAGISTRATE JUDGE
  GROVES, et al.,
                    Defendants.

       Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second
 Amended Complaint, Defendant’s Motion for Summary Judgment, the
 relevant records, and the Report and Recommendation of the United States
 Magistrate Judge. The time for filing objections has passed with none filed.
 The Court thus concurs with and accepts the findings and conclusions in the
 Report and Recommendation to dismiss the Second Amended Complaint.
       IT IS ORDERED that Defendant’s Motion for Summary Judgment is
 GRANTED and the action is DISMISSED without prejudice. Judgment shall
 be entered accordingly.


 DATED: April 2, 2019
                                    DOLLY M. GEE
                                    UNITED STATES DISTRICT JUDGE
